                                                UNITED STATES BANKRUPTCY COURT
                                                  FOR THE DISTRICT OF ARIZONA

                                                            Minute Entry
Hearing Information:
                          Debtor:       IRENE OQ ROTHES
                  Case Number:          4:19-BK-03643-SHG             Chapter: 7

           Date / Time / Room:          TUESDAY, AUGUST 13, 2019 02:30 PM COURTROOM 329

         Bankruptcy Judge:              SCOTT H. GAN
              Courtroom Clerk:          TERESA MATTINGLY
               Reporter / ECR:          ALICIA JOHNS                                                                                  0.00


Matter:
              HEARING ON ORDER TO SHOW CAUSE WHY THE INVOLUNTARY PETITION SHOULD NOT BE DISMISSED
              FOR FAILURE TO MAKE SERVICE.
              R / M #: 3 / 0



Appearances:
        NONE


Proceedings:                                                                                                                   1.00

        The Court notes for the record that no one appeared in Tucson, Phoenix, or by telephone on behalf of the involuntary
        petitioners.

        COURT: THE COURT SET THE HEARING BECAUSE IT WAS APPARENT FROM THE DOCKET THAT THE
        INVOLUNTARY PETITION WAS FILED AND THE SUMMONS WAS ISSUED BUT THE SUMMONS WAS NOT
        SERVED AS REQUIRED BY RULE 1010. THE COURT WANTED TO FIND OUT WHETHER THE PETITION HAD
        BEEN SERVED AND A CERTIFICATE OF SERVICE HAD NOT BEEN ISSUED. NO ONE HAVING APPEARED AT
        THE HEARING TO SUPPORT THAT, IT APPEARS SERVICE WAS NOT MADE AND THE COURT WILL ORDER
        THAT THE INVOLUNTARY PETITION BE DISMISSED.

        A form of order will issue.

        The hearing concludes.

        Copy of the M.E. mailed by BNC to:
        Irene OQ Rothes, Debtor
        Jim Stevens, Petitioning Creditor
        Phillip Schmidt, Petitioning Creditor
        Sheri Page, Petitioning Creditor
        tlm




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